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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                         CASE NO. 16-62028-CIV-LENARD/GOODMAN

  CLINGMAN & HANGER MANAGEMENT
  ASSOCIATES, LLC, as Trustee,

                         Plaintiff,

         - against -

  DAVID KNOBEL, JEFFREY PIERNE,
  NEAL YAWN, DEAN BARTNESS, SIANA
  STEWART, and CID YOUSEFI,

                         Defendants.

              DEFENDANTS’ MOTION FOR LEAVE TO EXCEED PAGE LIMITS

         Defendants David Knobel, Jeffrey Pierne, Neal Yawn, Dean Bartness, Siana Stewart and

  Cid Yousefi collectively move for entry of an order granting them leave to exceed page limits for

  their memorandum of law in support of summary judgment and accompanying statement of

  material facts, and in support state:

         1.      Pursuant to Local Rules 7.1(c)(2) and 56.1(a), a memorandum of law in support

  of summary judgment (“Memorandum”) cannot exceed twenty (20) pages, and a statement of

  material facts accompanying summary judgment (“Statement”) cannot exceed ten (10) pages,

  absent permission of the Court.

         2.      Defendants request authorization to file approximately twenty (20) additional

  pages to the Memorandum and fifteen (15) additional pages to the Statement, for a total of forty

  (40) pages for the Memorandum and twenty-five (25) pages for the Statement, so as to afford

  Defendants an adequate opportunity to set forth their case.




                           BILZIN SUMBERG BAENA PRICE & AXELROD LLP
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         3.     Discovery has been voluminous in this action, spanning twenty-four separate

  depositions, hundreds of deposition exhibits, and terabytes worth of produced data. For this

  reason, Defendants believe that extra pages for the Statement are warranted.

         4.     Likewise, Plaintiff has brought multiple claims for breach of fiduciary duty

  against six separate Defendants. To adequately brief the issues for each individual, Defendants

  believe that extra pages for the Memorandum are warranted.

         5.     For the foregoing reasons, Defendants request leave to file a memorandum of law

  in support of summary judgment not exceeding forty double-spaced pages, excluding signature

  block and certificate of service, and an accompanying statement of facts in support of summary

  judgment not exceeding twenty-five pages.




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                                  LOCAL RULE 7.1(A) CERTIFICATE

          Defendants’ counsel met and conferred with Plaintiff’s counsel, who did not agree to the

  relief requested.

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                                                               By:      /s/ Kenneth Duvall
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                                                                        Counsel for David Knobel, Jeffrey
                                                                        Pierne, Neal Yawn, Dean Bartness,
                                                                        Siana Stewart and Cid Yousefi


                                       CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2018, I electronically filed the foregoing with the Clerk

  of Court, using CM/ECF. I also certify that the foregoing document was served on all counsel of

  record via transmission of Notice of Electronic filing generated by CM/ECF.

                                                                        /s/ Kenneth Duvall
                                                                        Kenneth Duvall




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